﻿Citation Nr: AXXXXXXXX
Decision Date: 10/30/20	Archive Date: 10/30/20

DOCKET NO. 200623-98125
DATE: October 30, 2020

ORDER

The Veteran’s appeal of the June 2020 decision that awarded 90 percent entitlement under the Post 9/11 GI Bill is dismissed.

FINDING OF FACT

On October 5, 2020, prior to the promulgation of a decision in the appeal, the Board received notification from the Veteran that a withdrawal of this appeal is requested.

CONCLUSION OF LAW

The criteria for withdrawal of an appeal by the Veteran have been met.  38 U.S.C. § 7105; 38 C.F.R. § 20.205.

REASONS AND BASES FOR FINDING AND CONCLUSION

The Board may dismiss any appeal which fails to allege specific error of fact or law in the determination being appealed.  38 U.S.C. § 7105.  An appeal may be withdrawn as to any or all issues involved in the appeal at any time before the Board promulgates a decision.  38 C.F.R. § 20.205.  Withdrawal may be made by the Veteran or by his or her authorized representative.  38 C.F.R. § 20.205.  In the present case, the Veteran has withdrawn this appeal and, hence, there remain no allegations of errors of fact or law for appellate consideration.  Accordingly, the Board does not have jurisdiction to review the appeal and it is dismissed.

 

 

M. HYLAND

Veterans Law Judge

Board of Veterans’ Appeals

Attorney for the Board	L. S. Kyle, Counsel

The Board’s decision in this case is binding only with respect to the instant matter decided. This decision is not precedential and does not establish VA policies or interpretations of general applicability. 38 C.F.R. § 20.1303. 

